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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                     PLAINTIFF

v.                           CASE NO. 4:09cr00284 BSM

JAVIER TORRES GUZMAN and
EFREN DIAZ JASSO                                                          DEFENDANTS

                                        ORDER

      A bench trial was held on February 15, 2011. Both defendants, Javier Torres Guzman

(“Guzman”) and Efren Diaz Jasso (“Jasso”) signed waivers of jury trial. Guzman was

represented by Greg Bryant. Jasso was represented by Denese Fletcher. Anne Gardner

represented the United States.

      The government presented the testimony of Arkansas State Trooper Mike McNeill,

Special Agent for the DEA Carlos Penagos, and DEA Forensic Chemist Brigid King, whose

testimony was received by stipulation. Guzman and Jasso each testified in his own defense.

At the close of the case, both Guzman and Jasso were found guilty on counts one and two

of the October 8, 2009, indictment because the government proved its case beyond a

reasonable doubt.

      Guzman and Jasso will remain in custody and sentencing hearings will be set once a

presentence investigation report has been prepared for each defendant.

      IT IS SO ORDERED this 17th day of February, 2011.


                                                  ________________________________
                                                  UNITED STATES DISTRICT JUDGE
